Case 1:21-cr-00352-JEB Document 94-1 Filed 01/23/24 Page 1 of 8

Marc Bru

Inmate No. # 386519
District of Columbia
Department of Corrections
1901 D St., SE
Washington DC 20003

January 10, 2023

Clerk of Court

USDC District of Columbia S
333 Constitutional . 3 o
Washington, DC v0 = 6
my . 8 a

RE: Filing of “AFFIDAVIT IN MEMORANDUM OF LAW" : _ 4 =e

- Nd “em

Dear Clerk of Court, 0 3 =
a iJ S so
Please find attached: “AFFIDAVIT IN MEMORANDUM OF LAW" please file in my case Cane Noss
>)
“<<

1:21-cr-00352-JEB

Thank you for your help,

Respectfully Submitted,

/s/ Marc Bru
Marc Bru
Case 1:21-cr-00352-JEB Document 94-1 Filed 01/23/24

CERTIFICATE OF SERVICE
| have on or around January 10, 2024 Served through USPS to:

Benjamin W. Muse - Backup Attorney
Federal Public Defender

188 W. Northern Lights Blvd. Ste 700
Anchorage, Alaska 99503

Judge James Emanuel! Boasberg,
333 Constitution Ave. NW,
Washington, DC 20001

(202) 354-3300

Michael Matthew Gordon

DOIJ-USAO, Criminal Division, Violent Crimes and Narcotics Section
400 North Tampa St. Suite 3200

Tampa, FL 33602

(813) 274-6370

Angela D. Caesar

USDC of the District of Columbia Clerk of Court
333 Constitution Ave. NW,

Washington, DC 20001

(202) 354-3080.

Donald John Trump
Mar-a-Lago
1100 S. Ocean Blvd.
Palm Beach, FL. 33480
January 10, 2024
Respectfully Submitted,

/s/ Marc Bru
Marc Bru

Page 2 of 8
Case 1:21-cr-00352-JEB Document 94-1 Filed 01/23/24 Page 3 of 8

AFFIDAVIT IN MEMORANDUM OF LAW BY AND THROUGH VIOLATION OF
PEREMPTORY NORMS IN SUMMARY OF THE PARTICULAR ISSUE OF THE UNITED
STATES FEDERAL COURTS AND ALL CREATURE STATE COURTS IN CORRUPTION
AND FRAUDULENT PRACTICES OF FALSE JURISDICTION THROUGH ILLEGAL
CONTRACTS AS PROOF WITH THE COURT INVESTMENT REGISTRY SYSTEM.

This is a comprehensive look at the contract that the U.S,Court creates and all creature states operating
under the influenced of securities in the purposes of fractional reserve lending in which accumulates a
largely defined and misappropriated ill-gotten gain in a racketeering crime perpetuating slavery against
the public civilian population as per evidence of the Court Registry Investment System.

A contract is defined that there has to be an offer, acceptance, performance and consideration. All four
of these elements must be listed, itemized and particularized for full disclosure in the proper flow and
transparency of the contract.

The court registry account is an agency created as an escrow account. A party who wishes to deposit
funds while litigation is pending. Litigation applies taking a legal action, so in sense it has converted all
courts as in delegating in commerce and every case an investment, and every defendant or respondent,
held as the mortgage backed security to the investment. .

This evidence is referenced that the case pending or adjudicated must deposit all monies with the
Treasurer of the United States in the name and to the credit of the court and by 28 United States Code
Subsection 2041 and 28 United States Code Subsection 2045 implies that the an interest bearing
account can exist all across the board as which implies the Court Investment Registry System.

Specifically in any rules of procedures, for chain of custody in the capacity held by chain of title, the
movant must attach a proposed order directing investment. Investment is gain to increase value and
capital. The US court system is not a public service, but a private investment. The movant defines the
amount to be invested and the mode as to which and how the contribution shall be made. The IRS has
established that all pooled-funds in court inter-pleader cases are court registry accounts are apart of the
Disputed Ownership Fund as to the court employees are apart of the benefit of the fund as an inter-
pleader by way of service of the financial administration performed for the fund.

title IV, §400, Oct. 1, 1988, , provided: "That any funds hereafter collected by the Judiciary as a charge
for services rendered in administering accounts kept in a court's registry shall be deposited into a
separate account entitled ‘Registry Administration Account' in the Treasury of the United States. Such
funds shall remain available to the Judiciary until expended to reimburse any appropriation for the
amount paid out of such appropriation for expenses of the Courts of Appeals, District Courts and Other
Judicial Services and the Administrative Office of the United States Courts".

The movant in criminal litigation is the prosecutor who signs the bid bond. What is the bid bond? Its
the offer of the contract to accept the case and bid the association to administer the investment, which
defines the obligations and its terms and conditions of the financial administration for the case.
Administration is herein before and after defined as administration in finance or banking.

Page 1
Case 1:21-cr-00352-JEB Document 94-1 Filed 01/23/24 Page 4 of 8

For the fact that there are obligations existing in order to monetize the securities created by court
actions and claim must be made on the performance of the case to be benefited from the fractional
reserve lending from these interest bearing accounts in the court registry investment system that is tied
to the Disputed Ownership Fund, makes every officer of the court an inter-pleader subjected to Title 28,
§41(26) [now 1335, 1397, 2361] (Original jurisdiction of bills of inter-pleader and through the creation
of the bail bond, no funds can be placed in escrow without first obtaining a court order signed by the
presiding judge. By this section, the presiding judge is defined with the obligation of administration.
This in fact defines the status of the presiding judge as a title, in realistic sense, “a banker.” This
evidence as to the prosecutor being signing the bid bond and the judge signing the payment bond to
secure the investment can be referenced in the Federal Acquisition Regulation (FAR) Part 28-Bonds
and Insurance exhibited G as evidence.

The investment is approved for administration with surety created by the bail bond, the movant then
records it with the clerk in its registry. The order signed by the presiding judge creating surety for the
bail along with the contract that creates the payment bond, which is the acceptance of the contract for
the case pending in litigation. Acknowledgment always reciprocates with acceptance, for
comprehension is vital for accurate performance on all obligations, which becomes obvious that the
parties enforcing any of these court actions all tied to this interest bearing account by the court
investment registry system that converts the status of the defendant or the respondent as to a mortgage
backed security as collateral for the investment, are carrying out the performance of the obligated
activities as an enforcement arm by military occupation that are plundering and pillaging in a hostile
and tyrannical coercion against the public civilian population as defined in the Law of Armed Conflict
in the War Manual of the Uniform Code of Military Justice, Chapter 4, Section 23, subsection 1, 2 and
3 exhibit A..

A judge who has a financial interest in the victim of a crime is not required by Canon 3C(1)(c) to
disqualify from the criminal proceeding, but the judge must do so if the judge's impartiality might
reasonably be questioned under Canon 3C(1) or if the judge has an interest that could be substantially
affected by impartiality in the case.

In the Code of Conduct for United States Judges, list the definition as a financial interest that effects
the impartiality of the case as to which implies the instrumentality system of the United States Court

and all creature state courts.

(c) “financial interest” means ownership of a legal or equitable interest, however small, or a
relationship as director, advisor, or other active participant in the affairs of a party, except that:

(i) ownership in a mutual or common investment fund that holds securities is not a “financial interest”
in such securities unless the judge participates in the management of the fund;

Page 2
Case 1:21-cr-00352-JEB Document 94-1 Filed 01/23/24 Page 5 of 8

This is how the system created the loophole to manipulate the claim for impartiality that produces
corruption as that by procedure it is not the judge who manages the fund, the judge just benefits from it
by fulfilling the obligations of fiduciary in the surety of the case assuring the performance of the surety
is carties out. The agency named the Registry Monitoring Group created by the trust institution named
the Director of the Administrative Office of the United States Courts manages the fund. The judge just
gets a large payout which suffices in all logic and truth that cannot be rebutted, is in fact, in no way or
form impartiality but in complete violation thereof

(ii) an office in an educational, religious, charitable, fraternal, or civic organization is not a “financial
interest” in securities held by the organization;-

American Judges Association, Idaho Judges Association, Federal Judges Association, Colorado
Municipal Judges Association, Illinois Judges Association are just a few example of the many that can
have a monopoly of the court and jail system in which create securities in which that effects the
impartiality of every single case.

(iii) the proprietary interest of a policyholder in a mutual insurance company, or a depositor in a mutual
savings association, or a similar proprietary interest, is a “financial interest” in the organization only if
the outcome of the proceeding could substantially affect the value of the interest;

The judicial bonds created by the courts, in its subject matter jurisdiction, is not defined as a financial
interest unless the outcome of the case by the judges performance affects the security, not specifically
the defendants and plaintiffs rights, which is another loophole to invest the case monetarily and is in
fact a violation of the impartiality of the case, Its not a financial investment unless it becomes a liability
to the investors.

(iv) ownership of government securities is a “financial interest” in the issuer only if the outcome of the
proceeding could substantially affect the value of the securities;

Investing in military operations which is being used against the public is in fact a violation of the
impartiality to every case.

By a court order, the surety created for the bond that secured the monetary administration, can direct
the funds from the principle into an interest-bearing account on the accepted investment of the
monetary administration of the offer from the bid to contract. This is the escrow account as to which is
created for the principle to bear interest, that the mortgage backed security who is held with the liability
of securing, is held as collateral for the investment. The procedure for criminal procedures can be
referenced in Federal Rules of Criminal Procedure in the interest bearing account system through the

forfeiture system, as was first organized under the Organized Crime Control Act of 1970 following the
Patriot Act within it drug enforcement act, herein exhibited C, D and E.

Page 3
Case 1:21-cr-00352-JEB Document 94-1 Filed 01/23/24 Page 6 of 8

This escrow account with the features of interest-bearing funds, has procedures which are referenced in
federal rules of civil procedure, and under 28 United States Code Subsection 2045 which indicates
these rules and procedures apply to both civil and criminal court actions. 28 U.S. Code Subsection, the
CRIS system, its procedures in title for the name Court Registry Investment System, indicates that
maturities directed in this interest bearing account defines the public securities, which is the obligator
that is liable to secure the principle, the collateral for the mortgage backed security.

This summarizes what is being explained thus-far

1. That there is a principle.

2. The principle is decided in the beginning of litigation if litigation is pending and to be deposited.
3. An escrow account is opened.

4. The mortgage backed security is obligated with the principle which is the collateral of the account.
5. There is an investment to be made for the performance of the financial administration of the case.
6. The investment can bare interest that perpetuates endless monetary capital.

In short, the defendant or respondent is held obligator, as collateral which creates the mortgage backed
security, is the definition of investment for the federal government, all creature states, and all court
employees. Defined in reality as private investment, not public service, all forcing the collateral to be
obligated for the investment security under duress of violence or lethal force.

When the petitioner is any of the creature states or the federal United States District Court or any of its
subsidiaries, in a criminal action, are the disputers to acquire the ownership of the funds as
consideration for performing the obligations of administration through the Disputed Ownership Fund
and within its terms and conditions and prerequisites for tax administration and all tax liabilities.

The Director of the Administrative Office of the United States Courts, a name in title, is the trust
institution with the created agency named the Registry Monitoring Group to manage with the custody
of the comprehensive investment in both principle and interest of each individual case. The funds in the
CRIS system is still subject to the custody and control to the jurisdiction of the court, while litigation is
still pending, which means a performance bond needs signed for the performance of the case that is
pending in litigation. This can be reference in the publication for Registry Funds Loss Exhibited F.

All funds that are pooled in the CRIS system are deposited with the Treasury of the United States and
used for purchasing Government Account Series securities, which are used to fund military operations,
which means these funds from the investments of these creature state courts, the United States District
Court and all of it's subsidiaries are directly and militarily attacking the American public, civilian
population as in evidence as exhibited on page, exhibit C on page 7.

The account established in the CRIS liquidity fund title in the name is the case number, the case name,

and the defined consideration of each case with its chain of title, bears interest from it's chain of
custody. The investment from each case in principle and interest, recorded within it's features.

Page 4
Case 1:21-cr-00352-JEB Document 94-1 Filed 01/23/24 Page 7 of 8

Its procedure of how each investment pro rata share, by the interest that accumulated as chain of
custody by and through each individual chain of title, defined by it's name and case number, shall be
disbursed and made payable to all litigants and counsel, which means that the prosecutor signs the bid
bond, the administrator whom is the judge signs the payment bond, and either the public defender or
the attorney appointed or hired for the case, signs the performance bond as to which is required for
performance of the investment. All payee's that have accepted payment through the Disputed
Ownership Fund, have all funds made available by and through FedInvest/CMS application, after all
fees, dues and taxes are taken out to pay the trust institution for the management created by the agency
named the Registry Monitoring Group and the administrators in the IRS and all other investors. The
litigants and counsel also have the opportunity to invest the investment further.

The custodian which is the agency created from the trust institution, is allowed payment, and to deduct
before all else, the custodian which is the agency created by the trust institution deducts all payment for
the fee schedule of each individual case and all tax liabilities to the IRS before making the funds
available in the Disputed Ownership Fund and other federal and state taxes. The funds must, by
procedure, be deducted before it's pro rata share distribution to each individual case.

The created record by the movant to claim consideration by mode of the performance implied in the
contract as to the bid bond, payment bond, or performance bond and the prerequisites a payee, either
litigant or counsel, must file with the court clerk in it's registry for all recording purposes and tax
liabilities and private union fees and dues. The custodian, which is the agency created to manage the
control of the investments of both principle and interest, named the Registry Monitoring Group, by the
trust institution named the Director of the Administrative Office of the United States Courts, by
procedure, define how the pro rata shares of the interest will have its disbursements,

In conclusion, there is no justice system, it's all smoke and mirrors, a dog and pony show, a
racketeering money scam attacking the American civilian populace.

Page 5
Case 1:21-cr-00352-JEB Document 94-1 Filed 01/23/24 _ Page 8 of 8

1, Mare A. Bru , (claimant) of the age of majority, of sound mind, competent in the claim
being made in this affidavit, make this complaint as a redress of grievance, of being forced under

duress of being murdered, harmed, or inconvenienced through intimidation by this
court\.S .Federo Eaakeely to the RIS system, it's DOF fund, or any of it's other instrument
in obtaining securities, and the claithant makes this complaint under the penalties of perjury.

Title: AFFIDAVIT IN_
MEMORANDUM OF LAW ef) A. bru
BY AND THROUGH

VIOLATION OF rif Nagy, ea
PEREMPTORY NORMS IN acl 2

ALL CREATURE STATE Date: 1/6/2024

JURISDICTION THROUGH. flo] 209

SYSTEM.
CERTIFICATE OF ACKNOWLEDGMENT OF NOTARY PUBLIC

}SS:

The United States of America)

On this » the Claimant named above, personally appeared before me and
acknowledged to me on the basis of satisfactory evidence that he or she executed the same in his or hers stated capacity,
and that by his or hers signature on this affidavit is the person or entity upon behalf of which the person signed is a free
and voluntary act and deed for the purposes and upon the terms and conditions hereinafter set forth.

Date:
By.

, Notary

Public
My Commission Expires:

Page 6
